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 5                                         UNITED STATES DISTRI)T COURT
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 6                                       SOUTHERN DISTRICT OF C~LIFORNIA                                                          •j
                                                                                                                                   .I
                                                                         ';


 7                                               April 2018 Grand Jury              _

 8        UNITED STATES OF AMERICA,                              Case No.
                                                                                1 PR~
                                                                                    u   ~..~
                                                                                                  --:?,
                                                                                                  -...1   4 8 4 JLS
 9 II                               Plaintiff,                    I N D [ C T M E N T                                             ~
10   II           v.                                             ~i:l: r,-u~s~c~,--                                               J
                                                                 Sec. 1324 (a) (2) (B) (ii) -
11 II BRENDA MARTINEZ,                                           Bringing in Aliens for Financial
                                                                 Gain; Title 18, U.S.C., Sec. 2 -
12   II                             Defendant.                   Aiding and Abetting; Title 8,
                                                                 U.S. C., Sec. 1324 (a) (2) (B) (iii) -
13                                                               Bringing in Aliens Without
                                                                 Presentation
14
1511             The grand jury charges:

16 II                                                    Counts 1-4

1711             On    or     about      June    29,     2018,    within      the   Southern                      District          of

18 11California,              defendant BRENDA MARTINEZ,             with the intent to violate the

19 II immigration laws of the United States, knowing and in reckless disregard

20   11   of   the     fact       that   the    aliens    below    had    not   received prior                          official

2111authorization to come to,                      enter and reside in the United States,                                        did

22 11bring to the United States said aliens for the purpose of commercial

23 IJadvantage and private financial gain:

24                       Counts                          Name

25                            1                          Felix Salazar-Merino

26                            2                          Cecilia de la Cruz-Feliciano

27                            3                          Luisa Telles-Garcia

28                            4                          L.T.M., a juvenile


          APW:cms(nlv) :San Diego:8/6/18
           Case 3:18-cr-03484-JLS Document 1 Filed 08/07/18 PageID.2 Page 2 of 2




 111 in violation of Title 8, United States Code, Section 1324 (a) (2) (B) (ii),

 2 IJand Title 18, United States Code, Section 2.

 3 II                                               Counts 5-8

 4           On   or     about      June     29,    2018,       within    the   Southern    District    of

 SIJCalifornia,          defendant BRENDA MARTINEZ,                with the intent to violate the

 6 II immigration laws of the United States, knowing and in reckless disregard

 7 11 of   the    fact       that   the    aliens    below had not            received prior   official

 81Jauthorization to come to,                  enter and reside in the United States,                  did

 9 IJbring to the United States said aliens and upon arrival did not bring

10 IJand    present          said   aliens     immediately         to    an   appropriate   immigration

11 IJofficer at a designated port of entry:

12                  Counts                          Name
                                                    --

13                       5                          Felix Salazar-Merino

14                       6                          Cecilia de la Cruz-Feliciano

15                       7                          Luisa Telles-Garcia

16                       8                          L.T.M., a juvenile

171Jin violation of Title 8, United States Code, Section 1324(a) (2) (B) (iii).

             DATED: August 7, 2018.

                                                                   A TRUE BILL:


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                                                                ~eperson




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             Assistant U.S. Attorney




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